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                                                                              5


                                                                                           Apr 26, 2022
                             U NITED STATE S D ISTR ICT CO U RT
                             SO U TH ER N DISTR ICT O F FLO R IDA
                                       22-20169-CR-MARTINEZ/BECERRA
                             C ase N o.
                                       18U.S.C.j1956(h)
                                       18U.S.C.j982
  UN ITED STA TES O F A M ER ICA

  VS.

  A CISCLO V A LLA D ARE S IJR RU ELA ,

                        D efendant.
                                                       /

                                         IN FO R M A TIO N

         The United States Attorney chargesthat:

         Beginning in orarotm d January 2014,and continuing tm tilin or around D ecem ber 2018,

  in M inm i-DadeCotmty,in theSouthern DistrictofFlorida,and elsewhere,thedefendant,

                             A CISCLO V AL LAD A RE S U RR U ELA ,

  didknow ingly and willfully com bine,conspire,confederateand agreewith otherpersonsknown

  andunknown totheUnited StatesAtlorney,to comm itoffensesdefined in Title l8,United States

  Code,Sections 1956 and 1957,thatis:

         (a)    To knowingly conduct financial transactions affecting interstate and foreign
  com m erce,w hich transactions involved the proceeds of specified unlaw f'ulactivity,lcnow ing the

  funds'involved in the transactions represented the proceeds ofsom e form oftm lawfulactivity,

  know ing that the transactions w ere designed in whole and in partto conceal and disguise the

  nature,location source,ow nership and controlofthe proceeds ofthe specified tm law f'ulactivity,

  inviolationofTitle18,UnitedStatesCode,Section1956(a)(1)(B)(i),
                                                               'and
                To know ingly engage in a m onetary transaction by,through and to a financial
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  institm ion,affecting interstate and foreign com merce,in crim inally derived property of a value

  greater than $10,000,such property having been derived from specifed llnlawful activity,in
  violation ofTitle 18,U nited States Code,Section1957.

         Itisfurtheralleged thatthe specified tm lawf'ulactivity isan offense againsta foreign nation

  involving bribery ofa public official,orthe misappropriation,theft orembezzlem entofpublic

  ftm dsby orforthe benefitofa public official.

         Al1inviolationofTitle18,UnitedStatesCode,Section 1956(h).
                                FO RFEITU R E A LLEG ATIO N S

                The allegationsofthisInformation are re-alleged and incorporated herein forthe

  purposeofalleging crim inalforfeitureto theU nited StatesofAm erica ofcertain property in which

  thedefendant,A CISCLO VALLAD ARES IJRRUELA,hasan interest.

         2.     U pon conviction of a violation of the offense charged this Inform ation, the

  defendantshallforfeitto theU rlited Statesany property,realorpersonal,involved in such offense,

  or any property traceable to such property,plzrsuant to Title 18,United States Code,Section

  982(a)(1).
         AllpursuanttoTitle18,UnitedStatesCode,Section982(a)(1)andtheproceduressetforth
  in Title 21,U nited StatesCode,Section 853.



         as                   . & .
                                  ,
  JuM   AN TON IO G ON ZA LEZ
  :       UN ITED STATES ATTORN EY



  W M T R M .N ORK IN
  A SSISTAN T UN ITED STA TES A TTORN EY
      Case 1:22-cr-20169-JEM Document 38 Entered
                             UM TED STATES       on CT
                                            DISTRI  FLSD Docket 04/27/2022 Page 3 of 5
                                                       COURT
                                    SOUTHERN DISTRICT OF FLORIDA

UN ITED STATE S O F A M ER ICA                        CA SE N O .:

V.
                                                      C ER T IFIC A T E O F TR IAL A T TO R N EY W
ACISCLO VALLADA RES URRU ELA
                                         /            Superseding C ase Inform ation:

CourtDivision(selectone)                              New Defendantts)(YesorNo)
     EIM inmi       IQ K ey W est I
                                  ZIFTP               N um berofN ew Defendants
     L FTL          IZIW PB                           Totalntlm ber ofN ew Counts

1do hereby certifythat:
 l.     I have carefully considered the allegations ofthe indictm ent,the num ber of defendants,the num ber ofprobable
        witnessesand thelegalcom plexitiesoftlzeIndictment/lnform ation attached hereto.
        lnm awarethattheinform ation supplied on thisstatem entw illbe relied upon by the JudgesofthisCourtin setting
        theircalendarsandscheduling criminaltrialsunderthemandateoftheSpeedy TrialAct,Title28U.S.C.j3161.
        Interpreter:(Y'
                      esorNo)Yes
        Listlanguage and/ordialect:Spnnish
        Thiscasew illtake       daysforthepartiesto try.

 5. Please check appropriate category and type ofoffense listed below :
        (Checkonlyone)                         (Checkonlyone)
        I      Z 0to 5days                   n Petty
        11    IZI 6to 10days                 L M inor
        III   L 11to20days                   )ZIM isdemeanor
        IV    L 21to 60 days                 z Felony
        V     D 61 daysand over

 6. Hastl'
         liscasebeenpreviouslytiledinthisDistrictCourt?(YesorNo)No
        Ifyes,Judge                                   Case N o.
        Hasacomplaintbeenfiledinthismatler?(YesorNo)Yes
        Ifyes,M agistrateCaseNo.20mj3308
        DoesthiscaserelatetoapreviouslyfiledmatterinthisDistrictCourt?(YesorNo)Yes
        Ifyes,JudgeCooke                              CaseNo.19-cr-20706 and 18-cr-20758
 9. Defendantts)infederalcustody asof
 10. Defendantts)instatecustodyasof
 11. Rule 20 from the                D istrictof
 12. lsthisapotentialdeathpenaltycase?(YesorNo)No
 13. D oesthis case originate from a m atterpending in the N orthern Region ofthe U .S.A ttorney's O ffice
        priortoAugust8,2014 (M ag.JudgeShaniekM aynard?(YesorNo)No
        D oesthis case originatef'
                                 rom a m atterpendihg in the CentralRegion ofthe U .S.Attorney'sO ffice
        priortoOctober3,2019(M ag.JudgeJaredStrauss?(YesorNo)No


                                                       By:
                                                                W alter M .N orkin
                                                                A ssistantU nited States Attorney
                                                                CourtID N o.       A5502189
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                           U NITED STA TES D ISTR ICT C OUR T
                           SOU TH ERN DISTRICT O F FLO RIDA

                                      PEN AT,TY SH EET
  D efendant'sNam e: A CISCLO VALLA DARES URRU ELA

  C ase No:


   Count#: 1
   Conspiracy to com m itm oney laundering

  Title18,UnitedStatesCode,Section 1956(h)
   *M ax.Penalty: 20 Y ears'lm prisonm ent




   *Refersonly to possibleterm ofincarceration, does notinclude possible snes,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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AO455(Rev.01/09)W aiverofanIndictment

                                U NITED STATES D ISTRICT C OURT
                                                      forthe
                                           Southel'n DistrictofFlorida

             United StatesofAmerica
                        V.                                    CaseNo.
         ACISCLO VALLADARES URRUELA

                        Depndant
                                        W AW ER OF AN INDICTM ENT

      Iunderstand thatlhavebeen accused ofone orm oreoffensespunishableby imprisonm entform orethan one
year.Iwasadvised in open courtofmy rightsandthenatureoftheproposed chargesagainstm e.

        Afterreceiving thisadvice,Iwaivemy rightto prosecution by indictmentand consentto prosecution by
infonnation.



D ate:
                                                                               Defendant'
                                                                                        ssignature



                                                                          Signatureofde#ndant'
                                                                                             sattorney
                                                                                DanielS.Gelber
                                                                         Printednameofdefendant'
                                                                                               sattorney


                                                                                Judge'
                                                                                     çsignature
                                                                                     .


                                                                           Judge'
                                                                                sprinted nameand title
